I           Case 8:05-cr-00042-JSM-TGW Document 82 Filed 07/11/06 Page 1 of 8 PageID 200
    A 0 245B (Rev 06/05) Sheet I -Judgment in a Criminal Case


                                UNITED STATES DISTRICT COURT
                                                      MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DIVISION



    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                                   CASE NUMBER: 8:05-cr-42-T-30TGW
                                                                   USM NUMBER: 20202-058
    VS.



    JACOB VANCE
                                                                    Defendant's Attomey: Elton Gissendanner, 111, cja

I   THE DEFENDANT:

    -
    X pleaded guilty to count(s) ONE (I) and NINE (9) of the Indictment.
    - pleaded nolo contendere to count($ which was accepted by the court.
    -was found guilty on count@) after a plea of not guilty.
I
I   TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED                       COUNT



I   18 U.S.C. $371                      Conspiracy to Commit Mail Theti and
                                        Bank Fraud
                                                                                      December 17, 2002                   One




I   18 U.S.C. 31344                     Bank Fraud                                    October 10, 2002                    Nme




t           The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
    Sentencing Reform Act of 1984.

      The defendant has been found not guilty on count(s)
     X Count(s) TWO (2) - EIGHT (8) and TEN (10) - NINETEEN (19) are dismissed on the motion of the United States.
    IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district witbm 30 days of any change
    of name, residence, or mailing address until all fmes, restitution, costs, and special assessmentsimposed by this judgment are fully paid.
    If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
    circumstances.

                                                                                      Date of Imposition of Sentence: July 10, 2006




                                                                                      WD
                                                                                       STATES DISTRICT JUD$


                                                                                      DATE: h l y //,        2006
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A 0 245B (Rev 06/05) Sheet 2 - Ilnprisonment (Judgment in a Criminal Case)
Defendant:         JACOB VANCE                                                                             Judgment - Page 2 of 6
Case No.:          8:05-cr-42-T-30TGW




After considering the advisory sentencing guiclelines and all of the factors identified in Title 18 U.S.C. $5 3553(a)(l)-(7),
the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with the statutory
purposes of sentencing.


                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of SEVENTY (70) MONTHS. This term consists of SIXTY (60) months as to Count One and
SEVENTY (70) months as to Count Nine, all such t e r m to run concurrently.




 X The court makes the following recommendations to the Bureau of Prisons: The defendant shall participate in the 500 hour
intensive drug treatment program while incarcerated. If an institution near Bennettsville, South Carolina, offers this drug
treatment program, the Court recommends that the defendant be placed there.



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for chis district.
          - at -a.m.1p.m. on -.
          - as notified by the United States Marshal.
-The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          -as notitied by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




                                                                                  -               -




          Defendant delivered on                                                  to

- at                                                                              , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                        By:
                                                                                         Deputy United States Marshal
        Case 8:05-cr-00042-JSM-TGW Document 82 Filed 07/11/06 Page 3 of 8 PageID 202
A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         JACOB VANCE                                                                                   Judgment - Page 3 of 6
Case No.:          8:05-cr-42-T-30TGW
                                                          SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS. This
term consists of a THREE (3) YEAR term as to Count One and a FIVE (5) YEAR term as to Count Nine, all such terms to run
conciirrently .

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state. or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.


         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
          [he defendant shall not Icave the judicial district without the perniission of the court or probation ofticcr;

          the defendant shall report to the probation ofticcr and shall submit a truthful and complete written report within the lirst tive days of each
          month;

          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

          the dcfcndant shall support his or her dependents and m e t other family rcsponsibililies;

          the defendant sliall work regularly at a lawful occupation, unless excused by the probation ofticer for schooling, training, or other
          acceptable reasons;

          the defendant shall notify the probation ofticer at least tcn days prior to any change in residcnce or employnicnt;

          the defendant shall refrain from cxccssiie use of alcohol arid shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia rclated to any controlled substances, exccpt as prcscribcd by a physician;

          the defendant shall not frequent places wherc control lcd substances are illegally sold, used, distributed, or administered:

          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by thc probation ofticer;

          the defendant shall permit a probation officer to visit him or her at any titile at hornc or elsewhere and shall perillit confiscation of any
          contraband obscwed in plain view of the probation officer;

          the defendant shall noti6 the probation officer within seventy-two hours of being arrested or questioned by a law enforcement otlicer;

          the defendant shall not enter into any agreertient to act as an informer or a special agent of a law enforcement agency without the
          permission of tlie court; and

          as directed by tlie probation officer, tlie defendant shdl notify third partics of risks that may be occasioned by the dcfcndant's criminal record
          or personal history or characteristics and shall pcnnit the probation ofticcr to make such notitications and to confirm the defendant's
          compliance with such notitication requirement.
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A 0 245B (Rev. 06/05)Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        JACOB VANCE                                                                         Judgment - Page 4 of 6
Case No. :        8:05-cr-42-T-30TGW
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

         The defendant shall participate. as directed by the Probation Officer. in a program (outpatient and/or inpatient) lor treatment
         of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use or
         abuse. Further. the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
         amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.
         The defendant shall provide the probation officer access to any requested financial information.
         The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
         obligating himself/herself for any major purchases without approval of the probation officer.
         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
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A 0 245B (Rev 06/05)Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:          JACOB VANCE                                                                     Judgment - Page 5 of 6
Case No. :          8 :05-cr-42-T-30TGW

                                          CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                         Fine                       Total Restitution

          Totals:            $200.00                            Waived                     $152,1161.51


-         The determination of restitution is deferred until       .     An Anle~ldedJudgment in a Crinzinal Case ( A 0 245C) will
          be entered after such determination.
 X        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 9
          3664(i). all non-federal victims must be paid before the dnited States.


Name of Payee                                 Total Loss*                Restitution Ordered                 Prioritv or Percentage
Bank of America Recovery Services                                        $91,638.25
C/OTrini Pellegrino
M02- 100-09-01
100 N. Broadway
St. Louis, Missouri 63 102-2728
First Union National Bank (Wachovia)
C/OBill McCann
8800 Park Boulevard
Seminole, Florida
AmSouth Bank Corporate Security Department
C/ORod Franklin
13535 Feather Sound Drive. Suite 401
Clearwater. Florida 33762
Sun Trust Bank
C/OGary Snow
1776 Main Street
Sarasota. Florida 34236
Compass Bank Security
C/ODavid Whitehurst
P.O. Box 830529
Birmingham, Alabama 35283
                             Totals:          S                          $152,461.51

-         Restitution amount ordered pursuant to plea agreement $
-         The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
-         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine     - restitution.
         -        the interest requirement fbr the - fine      - restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A. 1 10, 110A, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06105) Sheet 6 - Schedule of Pay~nents(Judgment in a Criminal Case)

Defendant:        JACOB VANCE                                                                       Judgment - Page 6of 6
Case No. :        8:05-cr-42-T-30TGW


                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X         Lump sum payment of $ 200.00 due immediately. balance due
                            -not later than                    ?   or
                            -in accordance - C, - D, - E or - F below; or
B.       -         Payment to begin immediately (may be combined with -C.                      D, or       F below): or
C.       -        Payment in equal                   (e .g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e .g ., months or years), to commence               days (e.g., 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal                 (e.g.. weekly, monthly. quarterly) installments of $               over a
                  period of
                               , (e.g .. months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
E.       -       Payment during the term of supervised release will commence within                          (e.g., 3 0 or
                 60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
         the defendant's ability to pay at that time, or
F.         X      Special instructions regarding the payment of criminal monetary penalties:
While in the Bureau of Prisons custody, the defendant shall either (1) pay at least $25 quarterly if the defendant has a non-
Unicor job or (2) ay at least 50% of his monthly earnings if the defendant has a Unicor job. U on release from custody,
                    P                                                                                       P
the defendant shal pay restitution at the rate of $200 per month. At an time during the course o post-release supervision,
                                                                               f'
the victim, the government, or the defendant, may notify the court o a material change in the defendant's ability to pay,
and the court may adjust the payment schedule accordingly.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-
X        Joint and Several
         The defendant shall pay restitution jointly and severally with Cameron Reuben Moore and Damien Warren Webb,
         in the amount of $152,461.51.

-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The'defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril any and all assets and property,
                                                                                                    K
or portions thereof, subject to forfeiture, which are in the possession or control of t e defendant or the defendant's
nominees. The Forfeiture Money Judgment [Dkt. 641 issued on 4/12/06 will be made part of this judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                               Case No. 8:05-cr-42-T-30TGW

 JACOB VANCE,

        Defendant.



                            FORFEITURE MONEY JUDGMENT

        THIS CAUSE comes before the Court on motion of the United States of America for

 Entry of a Forfeiture Money Judgment (Dkt. #62). The Court, being fully advised in the

 premises, hereby finds that defendant Jacob Vance obtained funds in the amount of

 $72,633.30 as a result of his participation in the conspiracy in violation of 18 U.S.C. 9 371

 charged in Count One of the Indictment, for which he has been found guilty. Accordingly,

 for good cause shown, it is hereby

        ORDERED, ADJUDGED, and DECREED that the United States' motion (Dkt. #62)

  is GRANTED.

        It is FURTHER ORDERED that, for his participation in the conspiracy in violation of

  18 U.S.C. § 371, defendant Jacob Vance is personally liable for a forfeiture money

 judgment in the amount of $ 72,633.30 USD pursuant to the provisions of 18 U.S.C. §

  982(a)(2)(A) and Fed. R. Crim. P. 32.2(b)(2).




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          The Court shall retain jurisdiction to enter any orders necessary for the forfeiture and

  disposition of any substitute assets, belonging to the defendant, sought by the Government

  pursuant to 21 U.S.C. § 853(p)in satisfaction of such money judgment.

           DONE and ORDERED in Tampa, Florida on April 12, 2006.




                                                             VSITED ST.4TES DISTRICT K D G E


  Copies furnished to:
  Adelaide G. Few, AUSA
  AttorneyslParties of Record
  F:\Docs\200!305-cr-42.Jacob Vance Forfeiture.wpd




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